DOCUMENTS UNDER SEAL
                     Case 3:20-cr-00266-WHA Document 23 Filed 10/21/20 Page 111:22-11:42
                                                          TOTAL TIME (m ins):
                                                                              of 1       = 20 M
M AGISTRATE JUDGE                        DEPUTY CLERK                             REPORTER/FTR
M INUTE ORDER                            Karen L. Hom -via Zoom                  JoAnn Bryce via Zoom
MAGISTRATE JUDGE                         DATE                                     NEW CASE         CASE NUMBER
JOSEPH C. SPERO -via Zoom                October 21, 2020                                         3:20-cr-0266-WHA-1
                                                      APPEARANCES
DEFENDANT                                   AGE     CUST  P/NP   ATTORNEY FOR DEFENDANT                  PD.        RET.
Michael Brent Rothenberg                            N       P      David Rizk, spec. appear              APPT.
U.S. ATTORNEY                               INTERPRETER                         FIN. AFFT             COUNSEL APPT'D
Nick Walsh & Kyle Waldinger              NA                                     SUBMITTED

PROBATION OFFICER           PRETRIAL SERVICES OFFICER               DEF ELIGIBLE FOR            PARTIAL PAYMENT
                            Pepper Friesen                          APPT'D COUNSEL              OF CJA FEES
                                       PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                         STATUS
                                                                                                           TRIAL SET
       I.D. COUNSEL               ARRAIGNMENT             BOND HEARING           IA REV PROB. or           OTHER
      status: Held                                                               or S/R
       DETENTION HRG              ID / REMOV HRG          CHANGE PLEA            PROB. REVOC.              ATTY APPT
                                                                                                           HEARING
                                                     INITIAL APPEARANCE
        ADVISED                 ADVISED                  NAME AS CHARGED            TRUE NAME:
        OF RIGHTS               OF CHARGES               IS TRUE NAME
                                                        ARRAIGNM ENT
       ARRAIGNED ON                ARRAIGNED ON             READING W AIVED             W AIVER OF INDICTMENT FILED
       INFORMATION                 INDICTMENT               SUBSTANCE
                                                         RELEASE
      RELEASED           ISSUED                      AMT OF SECURITY       SPECIAL NOTES              PASSPORT
      ON O/R             APPEARANCE BOND             $                                                SURRENDERED
                                                                                                      DATE:
PROPERTY TO BE POSTED                          CORPORATE SECURITY                     REAL PROPERTY:
    CASH    $


      MOTION           PRETRIAL               DETAINED          RELEASED      DETENTION HEARING              REMANDED
      FOR              SERVICES                                               AND FORMAL FINDINGS            TO CUSTODY
      DETENTION        REPORT                                                 W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                           PLEA
    CONSENT                    NOT GUILTY                 GUILTY                   GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                CHANGE OF PLEA             PLEA AGREEMENT           OTHER:
    REPORT ORDERED                                        FILED
                               ID Counsel               CONTINUANCE
TO:                               ATTY APPT                BOND                 STATUS RE:
10/28/2020                        HEARING                  HEARING              CONSENT                  TRIAL SET

AT:                               SUBMIT FINAN.            PRELIMINARY          CHANGE OF                STATUS
                                  AFFIDAVIT                HEARING              PLEA
10:30 AM                                                   _____________
BEFORE HON.                       DETENTION                ARRAIGNMENT           MOTIONS                 JUDGMENT &
                                  HEARING                                                                SENTENCING
Spero                                                                                                  Status re:
        TIME W AIVED              TIME EXCLUDABLE          IDENTITY /           PRETRIAL                 PROB/SUP REV.
                                  UNDER 18 § USC           REMOVAL              CONFERENCE               HEARING
                                  3161                     HEARING
                                                  ADDITIONAL PROCEEDINGS
Dft consents to proceed via Zoom video. Time excluded from STA for effective preparation of counsel: 10/21/2020-10/28/2020.
Mr. Rothenberg also appears pro se.

                                                                                      DOCUMENT NUMBER:
